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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA


                                 Alexandria Division




   MARY ANNE KIRGAN and
   ROBERT S. KIRGAN,

           Plaintiffs,



   V.                                      Civil Action No. 1:17-cv-00327



   MANUFACTURERS AND TRADERS
   TRUST COMPANY d/b/a M&T BANK,

           Defendant.




                                 MEMORANDUM OPINION


           THIS MATTER comes before the Court on Plaintiffs Mary Anne

   Kirgan and Robert 8. Kirgans' Complaint, as successor trustees

  to the Plitt Trust, seeking to remove M&T as the corporate co-

  trustee of the Clarence Manger and Audrey Cordero Plitt Trust

   (the    "Trust").     Plaintiffs     seek   a   declaratory     judgment   for

   removal    of   Defendants     as   corporate   trustee   and   also   bring   a

   claim     for   breach   of    fiduciary    duty.    Defendants    also    seek

   declaratory judgment on a number of issues against Plaintiffs in

   addition to a breach of fiduciary duty claim.

                                   I. Background

           Plaintiffs filed their complaint in this Court on March 21,

  2017,      alleging    four    counts    against     Defendants.    Plaintiffs



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